Case 1:05-cr-01849-JCH Document 1690-1 Filed 07/22/09 Pagelof7

AFFIDAVIT

STATE OF NEW MEXICO =)
) ss.
COUNTY OF TORRANCE )

|, Dana Jarvis, being duly sworn, depose and say as follows:

| am a Defendant named in United States v. Dana Jarvis et. al, New
Mexico District Court Cause no. CR 05-1849 JH. | am filing this
Affidavit at the request of Walter Nash and William Kirchner,
attorneys for Mr. David Reid, solely to assist the Court in the
determination of a pretrial issue. By filing this Affidavit, | am not
waiving any applicable right or privilege herein, including my right to
remain silent, pursuant to Simmons v. United States, 390 U.S. 377
(1968).

Before signing this affidavit | have reviewed the Government's
Affidavit in Support of Wiretap Application in Support of Application
for Authorization to intercept Wire Communications Occurring Over
Telephone Number 505-470-1811, dated and filed with the United
States District Court, Albuquerque NM on March 3, 2005. | have also
reviewed the Defendants’ Joint Motion to Suppress The Fruit of Title
ill Wiretaps, and the Supplement thereto filed in May of 2009. | have
also reviewed the Government's response filed in June of 2009.

At the time my previous affidavit in this matter was being prepared |
had intended to provide information in addition to that which
ultimately became part of the affidavit. | had already discussed all or
almost all of the information contained herein with members of the
defense team. My attorneys later notified me, however, that the
prosecution was contending that the residual charges remaining
against me after | pled guilty and was sentenced should be dismissed
without prejudice. This created the possibility of the charges being
reinstated, and my statements being used against me. Accordingly,
my previous affidavit did not contain the information set forth herein.
The Government has now changed its position, and the Court has
dismissed all of the residual! charges against me with prejudice. For
this reason | can now supplement my previous affidavit as follows:
Case 1:05-cr-01849-JCH Document 1690-1 Filed 07/22/09 Page2of7

1. CS-3: The Government’s Affidavit discusses a person they call
“CS-3." In my previous affidavit | discussed him. | now add that the
affidavit recounts that CS-3 (Damien Vasquez) contacted me about
setting up marijuana transactions with a man name John Whalen. As
stated in the affidavit, | agreed to do the deal, and was prepared to
work with him, but Mr. Vasquez never followed up on our
conversations. The purpose of this deal was to get the ball rolling for
a series of larger deals. This Job and a series of larger transactions
would have gone through but the Government "ordered CS-3 not to
negotiate the transaction any further." In addition, it should be noted
that when CS-3 said that | had him searched before speaking with
him, this was not true.

2. CS-2: As | noted in my previous affidavit, the person the
Government refers to as “CS-2" is a woman named Lisa, a friend of
my ex-wife, Eileen. In addition to the fact that she could have worn a
“wire” when she met with me, if she had called to set up a marijuana
transaction | would have met with her. | knew she did not have the
finances to do a large deal, but would have helped her out with
smaller amounts if she had approached me. Over time she could
have worked up to larger amounts. She also could have gotten
information from me that would have been useful to the DEA .

3. Surveillance: The authorities would have been abie to obtain a
considerable amount of information helpful to their investigation if
they had conducted more surveillance on the locations known to
them. The following are examples:
A. The Lazy B: | used the “Lazy B” location discussed in my
previous affidavit as the main transfer point for marijuana in
Tucson. If the authorities had positioned a vehicle out of view
from the main street they could have looked directly into the
garage where the product was loaded and unloaded.

B. The 1st St. House: In my previous affidavit | discussed the

fact that there were several places near the First Street House
in Albuquerque where the authorities could have conducted

-2-
Case 1:05-cr-01849-JCH Document 1690-1 Filed 07/22/09 Page3of7

surveillance. If done properiy the DEA would have seen duffle
bags and suitcases containing marijuana being taken out of
vehicles and put into a guest house, and then transferred to
other vehicles that would head east. They could have
determined who brought the loads up from Arizona and who
took them east, and could have figured out their destination.

C. 28 Quail Run: In my previous affidavit ! discussed that this
was the residence of Kathy Fitzgerald. Had the Government
conducted surveillance there they could have observed
numerous business meetings and visits by various members of
the group. Vehicles used to transport marijuana were parked
there for weeks at a time.

D. 13 Enebro Road: As previously noted, this was my
residence in Santa Fe. Surveillance here would revealed a
wealth of information, such as the identities of co-conspirators
and their vehicles. The authorities could have linked up the
comings and goings with the timing of specific jobs.

E. 1440 Cielo Vista: This was my house in Bernalillo. People
would come there from the airport, and from the other locations
mentioned above.

4. Violence: This was not a violent organization. It was a loose-knit
group, not a gang. It dealt with marijuana only, not hard drugs. In
Footnote 22 of the Government's Response they discuss a
conversation | had with Melania Kirwin in which gasoline was
mentioned. There was no threat to actually splash gasoline on
anyone. What! was saying was the equivalent of “if you play with
fire, you will get burned.” Menalia Kirwin would testify that | never
laid a hand on her in anger. The same footnote also discusses a
storage unit in Tucson containing firearms. The storage unit was
rented by Adrian Sanford. The weapons were not mine. They
belonged to Steve Burkhart. Also mentioned in the same footnote is
a statement that | fired a gun at CW4. CW-4 is my ex-girlfriend
Barbara Hanna. She had a family history of mental illness, she was
under psychiatric care, and was on prescription medications. She

-3-
Case 1:05-cr-01849-JCH Document 1690-1 Filed 07/22/09 Page4of7

was addicted to Xanax and alcohol. She thought lots of people were
trying to kill her. | never fired a weapon at her. | never laid a hand on
her in anger.

5. Meeting with CS-3: The wiretap affidavit discusses an occasion
when | met with CS-3 (Damien Vasquez) at the Palace Restaurant
lounge in Santa Fe. The authorities indicated that they had seen
individuals they believed to be conducting counter-surveillance.
There was no counter-surveillance taking place. We were dealing
with a public place. The door to the street was always left open. You
could see into the lounge from across the street. An agent could
have been placed in the bar — just walked in, sat down and listened.
lt was quiet and would have been easy to observe. | never
“maintained constant vigilance,” nor did | have anyone act as a
lookout except during times when marijuana was actually being
handled.

6. Sale of marijuana to Whalen: The Government's Response
indicates that they were unwilling to turn over a “sample” of marijuana
to Mr. Whalen. That is not , however, what they had to do. Mr.
Vasquez (CS-3) could have simply told me he was obtaining the
marijuana for Whalen, and then taken it to the authorities. The same
is true for any amount later purchased. They could have purchased
hundreds of pounds from me through Mr. Vasquez without ever
losing control of it. If he showed up with the money, | would not have
known where it came from, or where the marijuana ended up.

7. Trust of Vasquez: On page 22 of the Government’s Response
there is a reference to a conversation | had with Damien Vasquez in
which | indicated | wanted him to act on my “behalf.” They argue that
this meant | did not trust Vasquez (CS-3). The fact is | was indicating
that | would trust Vasquez to act on my behalf in making the
arrangement for the deal with Whalen. Any indication of distrust was
toward Whalen, not Vasquez.

8. The role of the Blues Club: On page 26 of the Government's
Response they indicate that they “already knew that the role of the
Club in the Jarvis DTO was to launder drug proceeds.” That might be
what they thought, but that was not the case. The Club had nothing
to do with the marijuana business, and certainly had nothing to do

-4.
Case 1:05-cr-01849-JCH Document 1690-1 Filed 07/22/09 Page5of7

with laundering money. They could have verified that with a
minimum of investigation.

9. CS-3 was a cocaine dealer: | know for certain Damien Vasquez
was a cocaine dealer. He had been dealing coke for years before |
even met him. | learned from my former attorney Gary Nelson that
Vasquez had picked up by the DEA in an investigation for cocaine
dealing. Mr. Nelson learned this from his representation of Willow
Adams’ brother regarding a bust in Santa Fe in approximately 2004.
Vasquez had been the DEA’s number one target in Santa Fe for a
long time. Under threat of prosecution he offered to give them
information on me in hopes of getting out from under the coke
charges. The DEA has this on record, contrary to the statement in
footnote 18 of the Government's Response, claiming the DEA had
“no knowledge of CS-3 being a cocaine dealer.”

10. DEA, CS-3 and cocaine dealing: as stated above the DEA had
been aware of CS-3's coke dealing for years. The Government's
Response in footnote 18 that agents “instruct{ed] CS-3 to inform
others that he/she was a cocaine dealer to bolster CS-3's credibility
as he/she attempted to work back into the Jarvis DTO” is absolutely
beyond belief.

11. Closed organization: The foilowing is a list of defendants that |
had known for only a short time and were not“. . . long time, long
term drug associates,” or family members. John Nieto was a
musician in the Blues Kings band that performed at the nightclub.
Mary Cannat was a customer of the Club, and later worked the door
and became my house sitter. Sal Abeyta was a bar tender at the
Club. Rafal Mistrzak started as a server at the Club and later
became a bartender and worked booking the entertainment. Willow
Adams was employed as a bartender at the Club and worked the
door. Joseph Martin was the manger of the Club when | bought it.
Matthew Hothan was a friend of my daughter.

12. Angela Cummings: The Government's Response claims at page
36 that Angela Cummings, who lived in the house with the Red
Volkswagen bus counted and stored bulk cash at the house. Ms.
Cummings neither counted nor stored cash for me. She had split up
with Mr. Kasso and was not even in the United States during this time

5-
Case 1:05-cr-01849-JCH Document 1690-1 Filed 07/22/09 Page6éof7

frame.

13. Donald Trujillo not a pilot: Donald Trujillo was taking flying
lessons, but was not qualified to operate an airplane alone, and
never served as a pilot for me.

14. Credit card: If the Government had bothered to check my credit
card records they would have gained invaluable information
concerning the network of supply and distribution. This information
and some brief surveillance would have led them to large stashes of
marijuana.

15. Government misrepresentation of the extent of investigation:
Several times the Government's Response (pp. 1, 6 and 13) in the

impression is created that this was a long, intensive investigation
from 2001 to 2005. In fact there was little investigative work during
those years. In 2001 a person provided information to the DEA about
a house, a man named Joe Martin and a person, Dana LNU. The
DEA drove by the house a couple times, wrote down license plate
numbers and passed the information on to the Albuquerque DEA.
The Albuquerque office verified my home address and ownership of
Club Rhythm and Blues. This was the only substantial information
developed in that time period.

16. Rural locations: On page 13 of the Government's Response
there is a discussion of rural locations. Special Agt. Stark noted that
“many of the primary locations suspected as being marijuana ‘stash
house’ locations, or money transfer locations are in rural areas very
difficult to watch without being observed.” This is not true. Only two
of these many locations would be considered rural: Cathy Fitzgerald's
house and the “Lazy B” property. It is hard to believe that the DEA
with all their resources would consider either of these locations “very
difficult to watch.” On the contrary they could have been very easily
watched.

17. Quail Run Surveillance: In footnote 10 of the Government's
Response they argue that they did do surveillance when they had
actionable intelligence. They point to the surveillance of Cathy
Fitzgerald’s property. This is actually an example of what a poor job
they did. They knew that she was bringing a load of marijuana from

-6-
Case 1:05-cr-01849-JCH Document

Donald Trujillo's house in Santa Fe

1690-1 Filed 07/22/09 Page/7of7

to her residence at 28 Quail Run.
This load was brought to her house and successfully transferred to
the intended recipient without ever being detected. This involved a

Cheverolet Suburban containing several hundred pounds of

marijuana being brought to the residence, a silver mini-van with out-

of-state plates arriving along the only road in or out connecting to the
main road, and the marijuana being transferred to the van during the
time the agents were supposedly watching.

a surveillance involving aircraft and
missed the transfer.

Dated this 12th day of June, 2009

L Lame. Tas 2S

Signature of Dana Jarvis

SUBSCRIBED AND SWORN to before me on this 12th day of June,

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Notary Pubic

My Commission wid

Saby K. Pagan

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it is not clear to me how
agents on the ground could have
